           Case 3:18-cr-02672-DMS Document 42 Filed 01/14/21 PageID.86 Page 1 of 2
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AO 245D-(GA-SD-R,w~l-/-l-91-Judgment-in-a-Griminal-Gase-for-Rov0Gations-----------l--------1"'====-----,--
                                                                                                                                                   I




                                          SOUTHERN DISTRICT OF CALIFORNIA
            UNITED STATES OF AMERICA                                 JUDGMENT IN A CRIMINAL CASE
                                                                     (For Revocation of Probation or Supervised Release)
                                                                     (For Offenses Committed On or After November I, 1987)
                               V.

         OSCAR ALBERTO MARIN-BARBOSA                                    Case Number:        18CR2672-DMS

                                                                     Grant Eddy CJA
                                                                     Defendant's Attorney
REGISTRATION NO.               57941112
•-
THE DEFENDANT:
D admitted guilt to violation of allegation(s) No.          1 (Judicial Notice taken)

D was found guilty in violation of allegation(s) No.
                                                          -------------- after denial of guilty.
Accordin~ly, the court has adjudicated that the defendant is guilty of the following allegation(s):

Allegation Number                   Nature of Violation

              I                     Committed a federal, state or local offense




    Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 2 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
        IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
material change in the defendant's economic circumstances.

                                                                      January 13 2021


                                                                      HON. Dana M. Sabraw
                                                                      UNITED STATES DISTRICT JUDGE
                Case 3:18-cr-02672-DMS Document 42 Filed 01/14/21 PageID.87 Page 2 of 2                                         --+
                                               a
    AO 245D (CASD Rev. 01719) Judgment in Criminaf Casefor Revocatlons                                                          .   '
      DEFENDANT:      OSCAR ALBERTO MARIN-BARBOSA                                                      Judgment - Page 2 of 2
~ · · GASE-NBMBER:~-~18@R2692°0MS

                                                      IMPRISONMENT
     The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
     EIGHT (8) MONTHS as follows: FIVE (5) MONTHS concurrent to 20cr1491-DMS and THREE (3) MONTHS
     consecutive to 20cr1491-DMS.




      D    Sentence imposed pursuant to Title 8 USC Section 1326(b).
     •     The court makes the following recommendations to the Bureau of Prisons:




      D    The defendant is remanded to the custody of the United States Marshal.

      •    The defendant shall surrender to the United States Marshal for this district:
                                                              on _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           •   at _ _ _ _ _ _ _ _ _ AM.

           •     as notified by the United States Marshal.

           The defendant shall surrender for service of sentence at the institution designated by the Bureau of
      •    Prisons:
           •     on or before
           •     as notified by the United States Marshal.
            D    as notified by the Probation or Pretrial Services Office.

                                                            RETURN

      I have executed this judgment as follows:

           Defendant delivered on   _ _ _ _ _ _ _ _ _ _ _ _ _ to _ _ _ _ _ _ _ _ _ _ _ _ _ __

      at _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                     UNITED STATES MARSHAL



                                         By                     DEPUTY UNITED STATES MARSHAL




                                                                                                           18CR2672-DMS
